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          buildings and grounds shall hereafter be used exclusively for
          State purposes, the title to the same being in the State.
             SEC. 2.   That this act take effect and be in force thirty days
          after its passage, allowing that time for said county to vacate
          said rooms, &c.
             Approved, April 1st, 1881.




                                           No.     XC VI.
                      'AN ACT To Preserve the Public Peace and Prevent Crime.
          -bECTION
             I   Carrying of certain weapons constituted a misdemeanor; proviso, excepting
                   officers, and persons journeying.
             2   Carrying such weapons otherwise than in the hand, a misdemeanor.
             3   Selling or disposing of such weapons, a misdemeanor.
             4   Violation of act punishable by fine from $50 to $200.
             5   Justices of the Peace knowing of violations of provisions of act and refusing
                   to proceed, to be fined and removed.
             6   Same penalty denounced any other officer knowing of such offense.
             7   Violators of act how proceeded against.
             8   Conflicting laws repealed; act in force 90 days after passage.

          Beit enacted by the General Assembly of the State of Arkansas:
             SECTION 1.    That any person who shall wear or carry, in
          any manner whatever, as a weapon, any dirk or bowie knife,
          or a sword, or a spear in a cane, brass or metal knucks,
          razor, or any pistol of any kind whatever, except such pistols
          as are used in the army or navy of the United States, shall be
          guilty of a misdemeanor; Provided, That officers, whose duties
          req.uire them to make arrests, or to keep and guard prisoners,
          together with the persons summoned by such officers, to aid
          them in the discharge of such duties, while actually engaged
          in such duties, are exempted from the provisions of this act.
          Provided, further, That nothing in this act be so construed as
          to prohibit any person from carrying any weapon when upon a
         journey, or upon his own premises.
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              SEc. 2. Any person, excepting such officers, or persons on
           a journey, and on his premises, as are mentioned in section one
           of this act, who shall wear or carry any such pistol as in [is]
           used in the army or navy of the United States, in any manner
           except uncovered, and in his hand, shall be deemed guilty of as
           misdemeanor.
              SEC. 3. Any person who shall sell, barter or exchange, or
           otherwise dispose of, or in any manner furnish to any person
           any person any dirk or bowie knife, or a sword or a spear in a
           cane, brass or metal knucks, or any pistol, of any kind whatever,
           except such as are used in the army or navy of the United
           States, and known as the navy pistol, or any kind of cartridge,
           for any pistol, or any person who shall keep any such arms or
           cartridges for sale, shall be guilty of a misdemeanor.
              SEC. 4. Any person convicted of a violation of any of the
           provisions of this act, shall be punished by a fine of not less
           than fifty nor more than two hundred dollars.
              SEC. 5. Any justice of the peace in this State, who, from
           his own knowledge, or from legal information, knows, or has
           reasonable grounds to believe, any person guilty of the viola-
           tion of the provisions of this act, and shall fail or refuse to
           proceed against such person, shall be deemed guilty of a non-
           feasance in office, and upon conviction thereof, shall be pun-
           ished by the same fines and penalties as provided in section
           four of this act, and shall be removed from office.
              SEC. 6.    Any officer in this State, whose duty it is to make
           arrests, who may have personal knowledge of any person car-
           rying arms contrary to the provisions of this act, and shall fail
            or refuse to arrest such person and bring him to trial, shall be
           punished, as provided in section four of this act.
               SEC. 7. All persons violating any of the provisions of this
            act may be prosecuted in any of the courts of this State, hav-
           ing jurisdiction to try the same.
               SEC. 8.   All laws or parts of laws, in conflict with the pro-
           visions of this act are hereby repealed, and this act to take
           effect and be in force ninety days after its passage.
              Approved, April 1st, 1881.
